     Case 4:17-cv-03962-HSG Document 278-8 Filed 08/18/21 Page 1 of 38




 1    Guy B. Wallace, State Bar No. 176151               Gay Crosthwait Grunfeld, State Bar No. 121944
      gwallace@schneiderwallace.com                      ggrunfeld@rbgg.com
 2    Mark T. Johnson, State Bar No. 76904               Benjamin Bien-Kahn, State Bar No. 267933
      mjohnson@schneiderwallace.com                      Bbien-kahn@rbgg.com
 3    Travis C. Close, State Bar No. 308673              Jenny S. Yelin, State Bar No. 273601
      tclose@schneiderwallace.com                        jyelin@rbgg.com
 4    Rachel L. Steyer, State Bar No. 330064             Amy Xu, State Bar No. 330707
      rsteyer@schneiderwallace.com                       axu@rbgg.com
 5    SCHNEIDER WALLACE                                  ROSEN BIEN
      COTTRELL KONECKY LLP                               GALVAN & GRUNFELD LLP
 6    2000 Powell Street, Suite 1400                     101 Mission Street, Sixth Floor
      Emeryville, CA 94608                               San Francisco, CA 94105-1738
 7    Telephone: (415) 421-7100                          Telephone: (415) 433-6830
      Facsimile: (415) 421-7105                          Facsimile: (415) 433-7104
 8

 9    Kathryn A. Stebner, State Bar No. 121088           David T. Marks (pro hac vice)
      kathryn@stebnerassociates.com                      davidm@marksfirm.com
10    Brian S. Umpierre, State Bar No. 236399            Jacques Balette (pro hac vice)
      brian@stebnerassociates.com                        jacquesb@marksfirm.com_
11    STEBNER & ASSOCIATES                               MARKS, BALETTE, GIESSEL
      870 Market Street, Suite 1212                      & YOUNG, P.L.L.C.
12    San Francisco, CA 94102                            7521 Westview Drive
      Telephone: (415) 362-9800                          Houston, TX 77055
13    Facsimile: (415) 362-9801                          Telephone: (713) 681-3070
                                                         Facsimile: (713) 681-2811
14
     Attorneys for Plaintiffs and the Proposed Classes
15
                                  UNITED STATES DISTRICT COURT
16
                                 NORTHERN DISTRICT OF CALIFORNIA
17
                                        OAKLAND DIVISION
18
   STACIA STINER, et al., on behalf of themselves          Case No. 4:17-cv-03962-HSG (LB)
19 and all others similarly situated,
                                                           DECLARATION OF PATRICK
20                 Plaintiffs,                             KENNEDY IN SUPPORT OF
     vs.                                                   PLAINTIFFS’ MOTION FOR CLASS
21                                                         CERTIFICATION
22 BROOKDALE SENIOR LIVING, INC.;
   BROOKDALE SENIOR LIVING
                                                           Date:    May 26, 2022
23 COMMUNITIES, INC.; et al.,
                                                           Time:    2:00 p.m.
24                 Defendants.                             Place:   Courtroom 2
                                                           Judge:   Hon. Haywood S. Gilliam, Jr.
25

26

27                                               REDACTED

28
                                                                        Case No. 4:17-cv-03962-HSG (LB)
           DECLARATION OF PATRICK KENNEDY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
     Case 4:17-cv-03962-HSG Document 278-8 Filed 08/18/21 Page 2 of 38


 1        I, Patrick Kennedy, Ph.D. declare as follows:
 2

 3        1.     I am an economist and Managing Director with Torrey Partners. Torrey
 4 Partners is an expert services firm providing independent expert testimony, analysis,

 5 valuation and strategic consulting services to clients. I hold a bachelor’s degree in

 6 Economics from the University of California, San Diego and a Doctorate in

 7 Economics from Stanford University.        Prior to joining Torrey Partners, I was a
 8 managing director with LECG, a shareholder with Mack|Barclay, Inc., a director of

 9 economic research with International Securities Group and an economist with the

10 Board of Governors of the Federal Reserve System in Washington, D.C. Attached at

11 Exhibit A is my curriculum vitae, which summarizes my educational and

12 professional background.

13        2.     I am personally familiar with the facts set forth in this Declaration. If
14 called as a witness I could and would competently testify to the matters stated herein.

15 I make this declaration in support of Plaintiffs’ Motion for Class Certification

16 pending before this Court.

17

18 I. Assignment and Documents Reviewed

19        3.     I have been retained by counsel representing the named plaintiffs on
20 their own behalves and on behalf of others similarly situated (collectively referred to

21 as “Plaintiffs”) to provide opinions regarding the calculation of class-wide damages

22 related to claims asserted by Plaintiffs against Brookdale Senior Living, Inc. and

23 Brookdale Senior Living Communities, Inc. (collectively referred to as “Brookdale”

24 or “Defendants”).

25        4.     In connection with my continuing review and analysis, I have
26 considered, reviewed, and relied upon materials and information that may be cited

27 directly in this Declaration and are generally summarized at the attached Exhibit B.

28
                                             -1-
                                                               Case No. 4:17-cv-03962-HSG (LB)
        DECLARATION OF PATRICK KENNEDY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
         Case 4:17-cv-03962-HSG Document 278-8 Filed 08/18/21 Page 3 of 38


 1           5.    This Declaration provides analysis and opinions regarding a reliable
 2 methodology to be applied in calculating class-wide damages, using the data and

 3 information available to me at this time. I understand discovery is continuing in this

 4 matter. The methodology described in this Declaration is subject to change and

 5 refinement as additional information becomes available.

 6

 7 II.       Background
 8           A.    Brookdale
 9           6.    Brookdale operates and manages independent living, assisted living,
10 memory care, and continuing care retirement communities ("CCRCs") throughout

11 the United States.1 As of December 31, 2020, Brookdale was the largest operator of

12 senior living communities in the United States based on total capacity, with 726

13 communities in 43 states and the ability to serve approximately 64,000 residents.2

14 According to its public filings, the company reported total revenue of approximately

15 $3 billion and net income of approximately $82 million for the year ended December

16 31, 2020.3 Brookdale Senior Living Communities, Inc. is a subsidiary of Brookdale

17 Senior Living, Inc.4

18           7.    Brookdale’s community and service offerings include housing,
19 hospitality and healthcare services.5 Senior living communities offer residents a

20 supportive home-like setting, assistance with activities of daily living ("ADLs") such

21
     1
22     Brookdale Senior Living, Inc. Form 10-K for the fiscal year ended December 31,
     2020, page 7.
23   2
       Brookdale Senior Living, Inc. Form 10-K for the fiscal year ended December 31,
24   2020, page 7.
     3
       Brookdale Senior Living, Inc. Form 10-K for the fiscal year ended December 31,
25   2020, page 61.
     4
26     Brookdale Senior Living, Inc. Form 10-K for the fiscal year ended December 31,
     2020, Exhibit 21.
27   5
       Brookdale Senior Living, Inc. Form 10-K for the fiscal year ended December 31,
28   2020, page 7.
                                               -2-
                                                                Case No. 4:17-cv-03962-HSG (LB)
           DECLARATION OF PATRICK KENNEDY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
         Case 4:17-cv-03962-HSG Document 278-8 Filed 08/18/21 Page 4 of 38


 1 as eating, bathing, dressing, toileting, transferring/walking, and, in certain

 2 communities, licensed skilled nursing services.6 Brookdale also provides home

 3 health, hospice, and outpatient therapy services to residents of many of their

 4 communities and to seniors living outside of their communities.7

 5

 6           B.    Named Plaintiffs
 7           8.    Plaintiffs are elderly or dependent individuals living in California who
 8 have significant care needs and disabilities, and required assistance with their

 9 activities of daily living including, but not limited to, assistance with managing and

10 taking medication, housekeeping, laundry, dressing, bathing, toileting, hygiene, food

11 preparation, and transportation.8

12           9.    Stacia Stiner has been a resident of Brookdale San Ramon since
13 approximately February 2016.9

14           10.   Helen Carlson was a resident of Brookdale Fountaingrove from
15 approximately October 2011 until the time of her death on January 19, 2019.10 I

16 understand Ralph Carlson, her son, has been substituted as plaintiff in his capacity as

17 trustee of her estate.11

18           11.   Lawrence Quinlan stayed at the facility at Brookdale Hemet for respite
19 on several occasions between 2013 and 2015. He became a long-term resident of the

20 assisted living at Brookdale Hemet on approximately September 13, 2015, and left

21

22

23   6
       Brookdale Senior Living, Inc. Form 10-K for the fiscal year ended December 31,
24   2020, page 7.
     7
       Brookdale Senior Living, Inc. Form 10-K for the fiscal year ended December 31,
25   2020, page 7.
     8
26     Third Amended Complaint (“TAC”), paragraph 2.
     9
       TAC, paragraph 16.
27   10
        TAC, paragraph 17.
     11
28      June 2, 2021 Order Granting Motion to Substitute, ECF No. 260 at 1.
                                               -3-
                                                                 Case No. 4:17-cv-03962-HSG (LB)
           DECLARATION OF PATRICK KENNEDY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
      Case 4:17-cv-03962-HSG Document 278-8 Filed 08/18/21 Page 5 of 38


 1 the facility on or about April 30, 2017.12 I understand Mr. Quinlan died on July 13,

 2 2020, and his granddaughter, Loresia Vallette, has been substituted as plaintiff in her

 3 capacity as representative of his trust.13

 4          12.   Edward Boris was an assisted living resident at Brookdale
 5 Fountaingrove from September 2015 through July 2016. He was then a resident of

 6 the skilled nursing facility at Brookdale Fountaingrove. Mr. Boris died on September

 7 14, 2018.14     I understand Michele Lytle has been substituted as plaintiff in her
 8 capacity as trustee of the Boris family trust.15

 9          13.   Arthur Lindstrom was a resident of Brookdale Scotts Valley from
10 approximately November 2015 until the time of his death on February 23, 2018.

11 Patricia Lindstrom is the wife of Mr. Lindstrom and is his successor-in-interest.16

12          14.   Ralph Schmidt was an assisted living resident at the facility currently
13 known as Brookdale Tracy from approximately September 2011 through October 30,

14 2017. He currently resides at an assisted living facility not affiliated with Brookdale.

15 The Court appointed Heather Fisher as guardian ad litem for the purposes of

16 prosecuting this lawsuit.17

17          15.   Bernie Jestrabek-Hart has been a resident of Brookdale Scotts Valley
18 since approximately October 2015.18

19          16.   I understand Jeanette Algarme was a resident of Brookdale Brookhurst
20 between approximately April 2018 and October 2020 and currently resides at a Board

21 and Care Home.19

22
     12
        TAC, paragraph 18.
23   13
        June 2, 2021 Order Granting Motion to Substitute, ECF No. 260 at 3.
     14
24      TAC, paragraph 19.
     15
        June 2, 2021 Order Granting Motion to Substitute, ECF No. 260 at 2.
25   16
        TAC, paragraph 20.
     17
26      TAC, paragraph 21.
     18
        TAC, paragraph 22.
27   19
        TAC, paragraph 23; Declaration of Jeanette Algarme in Support of Plaintiffs’
28
                                                -4-
                                                                Case No. 4:17-cv-03962-HSG (LB)
          DECLARATION OF PATRICK KENNEDY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
      Case 4:17-cv-03962-HSG Document 278-8 Filed 08/18/21 Page 6 of 38


 1            C.    Proposed Class Members
 2            17.   It is my understanding Plaintiffs seek to represent the following three
 3 classes:20

 4                  a. Residents With Mobility Or Visual Disabilities Class: All persons
 5                     with disabilities who use wheelchairs, scooters, or other mobility aids
 6                     or who have vision disabilities and who reside or have resided at a
 7                     residential care facility for the elderly located in California and
 8                     owned, operated and/or managed by Brookdale during the three years
 9                     prior to the filing of the Complaint herein through the conclusion of
10                     this action, including their successors-in-interest if deceased,
11                     excluding any persons who are subject to arbitration.
12                  b. Residents With Disabilities Class: All persons with disabilities who
13                     require assistance with activities of daily living and who reside or
14                     have resided at a residential care facility for the elderly located in
15                     California and owned, operated and/or managed by Brookdale during
16                     the three years prior to the filing of the Complaint herein through the
17                     conclusion of this action, including their successors-in-interest if
18                     deceased, excluding any persons who are subject to arbitration.
19                  c. False Or Misleading Statements Class: All persons who resided or
20                     reside at one of the residential care facilities for the elderly located
21                     in California and owned, operated and/or managed by Brookdale
22                     during the period from May 16, 2015 through the conclusion of this
23                     action, and who contracted with Brookdale or another assisted living
24                     facility for services for which Brookdale was paid money, including
25

26

27 Motion for Class Certification.
     20
28        TAC, paragraph 197-198 and Plaintiffs’ Motion for Class Certification.
                                                 -5-
                                                                    Case No. 4:17-cv-03962-HSG (LB)
            DECLARATION OF PATRICK KENNEDY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
      Case 4:17-cv-03962-HSG Document 278-8 Filed 08/18/21 Page 7 of 38


 1                     their successors-in-interest if deceased, excluding any persons who
 2                     are subject to arbitration.
 3

 4           18.    Since July 13, 2014 (the beginning of the earliest proposed class period
 5 above), Brookdale owned or operated 90 communities (facilities) in California that

 6 offered assisted living and/or memory care which are the subject of this litigation.21

 7

 8           D.     Complaint
 9           19.    The initial Complaint in this action was filed July 13, 2017. On February
10 15, 2019, Plaintiffs filed its Third Amended Class Action Complaint for Declaratory

11 and Injunctive Relief and Damages against Defendants (“TAC”) asserting (1)

12 violations of the Americans with Disabilities Act of 1990 (“ADA”); (2) violations of

13 the Unruh Civil Rights Act (“Unruh Act”); (3) violations of the Consumer Legal

14 Remedies Act (“CLRA”); (4) Elder Financial Abuse; and (5) Unlawful, Unfair and

15 Fraudulent Business Practices (“UCL”).

16           20.    Among its claims, Plaintiffs allege that Defendants have violated the
17 CLRA, UCL and Elder Financial Abuse statute by misrepresenting and concealing

18 material facts about the quality and availability of care at Defendants’ facilities. As

19 a result, Plaintiffs claim that residents live with a substantial risk that they will not

20 receive the care and services that they have paid for and that they need.22 Plaintiffs

21 further allege that Defendants have violated the ADA and Unruh Act by failing to

22 make its assisted living facilities readily accessible to and usable by persons with

23 disabilities, and that Defendants’ corporate policies and practices prevent persons

24

25

26
     21
          Declaration of Kevin Bowman in Support of Motion to Deny Class Certification,
27 paragraph 4.
     22
28        TAC, paragraph 6-7.
                                                 -6-
                                                                  Case No. 4:17-cv-03962-HSG (LB)
           DECLARATION OF PATRICK KENNEDY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
      Case 4:17-cv-03962-HSG Document 278-8 Filed 08/18/21 Page 8 of 38


 1 with disabilities from full and equal access to and enjoyment of Defendants’ facilities

 2 and services.23

 3

 4 III.     Analysis and Opinions
 5          A.    Damages Methodology/Remedy
 6          21.   This Declaration provides analysis and opinions regarding the
 7 calculation of monetary recovery available on a class wide basis under the Plaintiffs’

 8 claims. My understanding is that, under applicable law, the appropriate measure for

 9 calculating damages or restitution under certain claims is the excess of what Plaintiffs

10 paid to the Defendant over the value, if any, of what the Plaintiffs received.            I
11 understand that a focus is on the difference between what was paid and what a

12 reasonable consumer would have paid at the time of the transaction without the

13 allegedly misrepresented or omitted information.24 Given the information that is

14 available and which I have had an opportunity to analyze at this time, it is my opinion

15 that class wide damages can be reasonably calculated using a commonly applied

16 methodology and reliable data, as described further below.

17          22.   This Declaration also provides analysis and opinions regarding the
18 calculation of statutory damages related to claims made under CLRA and the Unruh

19 Act.

20

21

22

23   23
       TAC, paragraph 3-5.
     24
24     See for example, Pulaski & Middleman, LLC v. Google, Inc., 802 F.3d 979, 988
     (9th Cir. 2015) and Nguyen v. Nissan North America, Inc., 932 F.3d 811, 820 (9th
25   Cir. 2019). I do not provide any legal opinions in this declaration. However, as a
26   damages expert, I rely upon relevant case law to guide my damages methodology.
     Based on information provided by counsel, I understand that the aforementioned
27   case law provides guidance regarding the calculation of restitution damages in the
28   Ninth Circuit.
                                              -7-
                                                                Case No. 4:17-cv-03962-HSG (LB)
          DECLARATION OF PATRICK KENNEDY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
      Case 4:17-cv-03962-HSG Document 278-8 Filed 08/18/21 Page 9 of 38


 1                1.    What was Paid
 2          23.   I understand residents of Brookdale
 3

 4

 5                                                                                       .25
 6          24.   According to Brookdale, assisted living is for people who need
 7 assistance with daily activities like managing medications, dressing, bathing,

 8 housekeeping and meals.26 Brookdale’s website states, assisted living provides “the

 9 care you need when you need it” and residents will “have help with the daily tasks of

10 life”.27 Brookdale’s website further states, “By providing residents with a range of

11 service options as their needs change, we provide greater continuity of care, enabling

12 seniors to age-in-place, which we believe enables them to maintain residency with us

13 for a longer period of time. The ability of residents to age-in-place is also beneficial

14 to our residents and their families who are concerned with care decisions for their

15 elderly relatives.”28     Brookdale further describes its personalized service as
16 “redefined independence” that allows you and your loved ones the “peace of mind”

17 you deserve.29

18          25.   According to its website, Brookdale provides personalized assisted
19 living care, including “a personal service system that allows us to customize your

20 care” and “service and clinical guidelines [that] allow us to meet your daily needs

21 with the right care at the right time, delivered by the right people.”30 In describing

22
     25
        See, e.g., Residency Agreement for Stacia Stiner (BKD0934640-934668).
23   26
        https://www.brookdale.com/en/our-services.html
     27
24      https://www.brookdale.com/en/our-services/assisted-living/what-is-assisted-
     living.html
25   28
        Brookdale Senior Living, Inc. Form 10-K for the fiscal year ended December 31,
26   2020, page 7.
     29
        https://www.brookdale.com/en/our-services.html
27   30
        https://www.brookdale.com/en/our-services/assisted-living/what-is-assisted-
28
                                              -8-
                                                                Case No. 4:17-cv-03962-HSG (LB)
          DECLARATION OF PATRICK KENNEDY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
     Case 4:17-cv-03962-HSG Document 278-8 Filed 08/18/21 Page 10 of 38


 1 its personalized service system, Brookdale states, “Our assessment tool helps us plan

 2 for the care and services you need, so our care associates can clearly understand your

 3 preferences and how to support you.”31

 4            26.   Brookdale’s Assisted Living Policy and Procedures Manual describes
 5 the evaluation process policy as follows:

 6

 7

 8

 9

10

11
                                                                     ” 32
12

13            27.   I understand from Brookdale’s documents
14

15                              .33 I understand
16

17

18

19

20            28.   Brookdale’s documents
21                                                                                  .35 If the
22 answer is “yes”, more detailed follow-up questions are asked.

23

24 living.html
     31
          https://www.brookdale.com/en/our-services/assisted-living/what-is-assisted-
25 living.html
     32
26    Deposition Exhibit 102.
     33
      Deposition Exhibit 103.
27 34 Deposition Exhibit 102 and Deposition Exhibit 103.
   35
28    Deposition Exhibit 29 at BKD2126808.
                                                -9-
                                                                 Case No. 4:17-cv-03962-HSG (LB)
            DECLARATION OF PATRICK KENNEDY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
     Case 4:17-cv-03962-HSG Document 278-8 Filed 08/18/21 Page 11 of 38


 1

 2

 3                       36


 4

 5

 6           .37 Brookdale’s documents and testimony therefore indicate that pricing for
 7 personal services of residents is directly linked to the Personal Services Assessments.

 8          29.   Brookdale discloses the link between the assessed level of care and cost
 9 of care in its consumer-facing materials. According to its website, the price of a

10 Brookdale community varies depending on where it is located, the type of apartment

11 and how much care a resident needs.38 Brookdale states, because the price can vary

12 depending on factors like how much help a resident needs throughout the day, it

13 works with residents prior to move-in to create a custom service plan that meets the

14 resident’s specific needs.39 According to Brookdale, the individualized plan means

15 residents “only pay for the services you need, which means you're likely to find

16 something that fits your needs — and your budget.”40            These consumer-facing
17 statements demonstrate a link between the cost of care paid by residents and the level

18 of individualized care that Brookdale represents “meets the resident’s specific needs”

19 based on personalized resident assessments.

20          30.   The link between the cost of care and the expected level of care is further
21 demonstrated in the materials provided to residents prior to move-in. Specifically,

22

23
     36
24      Deposition of Teresa Ward, 203:20-203:25.
     37
        Deposition of Anna Reddy, 229:10-229:21.
25   38
        https://www.brookdale.com/en/our-services/assisted-living.html
     39
26      https://www.brookdale.com/en/our-services/assisted-living.html
     40
        https://www.brookdale.com/en/our-services/assisted-living.html and
27   https://www.brookdale.com/en/our-services/assisted-living/what-is-assisted-
28   living.html
                                              -10-
                                                                  Case No. 4:17-cv-03962-HSG (LB)
          DECLARATION OF PATRICK KENNEDY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
     Case 4:17-cv-03962-HSG Document 278-8 Filed 08/18/21 Page 12 of 38


 1

 2                                                                  :
 3

 4

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 8
                                                                        ”41
 9

10          31.   Residents are then charged a monthly fee associated with the Personal
11 Service Rate, as identified in the resident assessment process. For example, as of

12 February 13, 2016, Ms. Stiner was charged $         per month for her personal service
13 rate.42 The Personal Service Price Schedule, attached as Exhibit Z to the Residency

14 Agreement, outlines various levels of services within different categories of care and

15 the monthly price associated with each level of care.

16

17

18                   .43 I understand that the resident’s Personal Service Rate Report is
19 also attached to the Residency Agreement, which indicates the individual assessment

20 results and related fees.44

21          32.   In addition, the Residency Agreement discloses under Rate Changes,
22

23

24

25   41
      See, e.g., Residency Agreement for Stacia Stiner (BKD0934640-934668), page 2.
     42
26    Residency Agreement for Stacia Stiner (BKD0934640-934668), Exhibit A.
   43
      Deposition Exhibit 108.
27 44 See, e.g., Residency Agreement for Stacia Stiner (BKD0934640-934668), Exhibit

28 A and Deposition Exhibit 106.
                                             -11-
                                                               Case No. 4:17-cv-03962-HSG (LB)
          DECLARATION OF PATRICK KENNEDY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
     Case 4:17-cv-03962-HSG Document 278-8 Filed 08/18/21 Page 13 of 38


 1                                                        .” Certain Residency Agreements
 2 provided by Defendants specifically state:

 3                 “When such a change in services occurs and alters your Personal
 4                 Service Plan, the associated fees as referenced in Exhibit A and
                   detailed in Exhibit Z, will be charged to you immediately after
 5
                   written notice of the change in services is provided” (emphasis in
 6                 original).45
 7

 8           33.      The statements above further demonstrate the relationship between the
 9 assessed level of care and the fees charged for residents’ Personal Service Plans, as

10 presented to residents.

11           34.      The Residency Agreement identifies the rate for each service which I
12 understand is presented to residents before the resident enters the Brookdale facility.

13 As such, the Personal Service Rate (the amount charged to each resident for care

14 services) establishes the market value of care services as bargained for, consistent

15 with the level of care identified by Brookdale in the individualized assessment.

16

17

18

19

20

21                                                  .”46 The Community Fee is also set forth
22 in the Residency Agreement prior to a resident’s move-in.

23           35.      It is my understanding that Brookdale represented the relationship of the
24 cost of care paid by or for residents and the expected level of individualized care as

25 described above throughout the Class Period.

26
     45
          See, e.g., Template Brookdale Residency Agreements (Declaration of Kevin
27 Bowman in Support of Motion to Deny Class Certification, Exhibits B-E).
     46
28        See, e.g., Residency Agreement for Stacia Stiner (BKD0934640-934668), page 5.
                                                  -12-
                                                                    Case No. 4:17-cv-03962-HSG (LB)
           DECLARATION OF PATRICK KENNEDY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
     Case 4:17-cv-03962-HSG Document 278-8 Filed 08/18/21 Page 14 of 38


 1                2.    What was Received
 2          36.   Plaintiffs assert that although Brookdale represents that it determines
 3 each resident’s needs and staffs each facility to deliver personalized care to meet

 4 those needs, Brookdale systemically understaffs its facilities, which placed residents

 5 at substantial risk that they will not receive the care and services they have paid for

 6 and that Brookdale’s assessments have determined they need.

 7          37.   I understand that at Brookdale, a
 8                                                                      described above.
 9 Specifically, Brookdale describes

10

11                                            .47
12

13

14

15                                                               .48 Brookdale
16

17                                         .49 According to Rhonda Dolcater, District
18 Director of Operations,

19                        .50
20

21                                                   .51
22

23

24

25   47
      Deposition Exhibit 31 at BKD1840442.
     48
26    Exhibit 30 at BKD 2026548, Exhibit 31 at BKD1840459.
   49
      Deposition Exhibit 31 at BKD1840459.
27 50 Deposition of Rhonda Dolcater, 157:02-157:15.
   51
28    Deposition Exhibit 31 at BKD1840459.
                                              -13-
                                                               Case No. 4:17-cv-03962-HSG (LB)
          DECLARATION OF PATRICK KENNEDY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
     Case 4:17-cv-03962-HSG Document 278-8 Filed 08/18/21 Page 15 of 38


 1

 2                                              ”.52
 3          38.   According to Brookdale, the
 4                                                                                   .53
 5

 6                                                              .54 Brookdale’s Assisted
 7 Living Policy and Procedures Manual states, “

 8

 9                            .”55
10          39.
11

12

13            .56 According to Brookdale,
14

15                                                                                         .57
16 For example, a

17

18                                .58 Further, according to Brookdale,
19

20                          .59
21

22

23   52
        Deposition Exhibit 31 at BKD1840459.
     53
24      Deposition Exhibit 30 at BKD2026548.
     54
        Deposition Exhibit 103.
25   55
        Deposition Exhibit 15 at BKD0022884.
     56
26      Deposition Exhibit 31 at BKD1840455 and Deposition Exhibit 143.
     57
        Deposition Exhibit 31 at BKD1840455.
27   58
        Deposition Exhibit 31 at BKD1840455-456
     59
28      Deposition Exhibit 31 at BKD1840460.
                                             -14-
                                                               Case No. 4:17-cv-03962-HSG (LB)
          DECLARATION OF PATRICK KENNEDY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
     Case 4:17-cv-03962-HSG Document 278-8 Filed 08/18/21 Page 16 of 38


 1          40.   Kevin Bowman, Division VP of Operations for West Division, further
 2 describes

 3                                                             .60 In an email to various
 4 Brookdale employees, Mr. Bowman states, “

 5

 6                                                    .”61 Similarly, in an email from Jeff
 7 Toomer, Regional Vice President of Operations, he states “

 8                                                   ”62
 9          41.   I understand that Defendants assert
10

11

12                                 .63 Brookdale further states that it has not identified
13 any written policies, procedures, guidelines, or other documents that govern or apply

14 to the process of determining the hours, numbers or levels of caregiver staffing

15 needed to provide promised services to residents.64

16          42.   Plaintiffs allege that Brookdale’s corporate policies and profit-driven
17 incentives results in a system of understaffed assisted living facilities that places

18 residents at substantial risk that they will not receive the care and services they have

19 paid for and that Brookdale’s assessments have determined they need.

20          43.   I understand that at Brookdale, a facility’s financial targets depend upon
21 the facility’s net operating income which, in turn, depends directly upon its labor

22 expenditures. Specifically, Plaintiffs allege that the Brookdale facilities are required

23
     60
24      Deposition of Kevin Bowman, 119:21-120:02.
     61
        Deposition Exhibit J.
25   62
        Deposition Exhibit 137.
     63
26      Defendants’ Supplemental Responses to Plaintiff Helen Carlson’s Interrogatories,
     Set One, No. 3 and Deposition of Rhonda Dolcater, 103:10-104:17.
27   64
        Defendants’ Supplemental Responses to Plaintiff Helen Carlson’s Interrogatories,
28   Set One, No. 4.
                                              -15-
                                                                 Case No. 4:17-cv-03962-HSG (LB)
          DECLARATION OF PATRICK KENNEDY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
     Case 4:17-cv-03962-HSG Document 278-8 Filed 08/18/21 Page 17 of 38


 1 to reach certain budgetary goals which has resulted in reduced care labor hours. For

 2 example, in an email from Sheila Garner, Regional Vice President, she states

 3                                                                            .65 She further
 4 states “                                       ” and they have “
 5                                         .”66
 6                                                         .67 In addition, employees are
 7 incentivized with financial rewards to reach certain budgetary goals. For example,

 8

 9                                                                                      .
10

11                                  .68
12          44.   It is my understanding that other experts will assess the extent to which
13 Brookdale’s assessment and labor benchmark tool provided sufficient/insufficient

14 staffing levels. I further understand that analysis will include a comparison of actual

15 hours provided by Brookdale for care services and the generally accepted amount of

16 time required to deliver these care services.

17          45.   According to Plaintiffs, Brookdale’s misrepresentations regarding its
18 provision of staffing that is necessary to provide the services its residents need and

19 for which the residents are paying is material to the reasonable consumer.69 Plaintiffs

20 claim that if they had known Brookdale would charge them based on their personal

21 service plan, but not provide adequate staffing to provide the necessary level of care,

22 they would not have entered Brookdale’s facilities, or they would have insisted on

23 paying a lower price. On behalf of the potential class of current and former residents,

24

25   65
      Deposition Exhibit 258.
     66
26    Deposition Exhibit 258.
   67
      Deposition Exhibit 124.
27 68 Deposition Exhibit 153.
   69
28    Third Amended Complaint, paragraph 90-91.
                                              -16-
                                                                  Case No. 4:17-cv-03962-HSG (LB)
          DECLARATION OF PATRICK KENNEDY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
     Case 4:17-cv-03962-HSG Document 278-8 Filed 08/18/21 Page 18 of 38


 1 Plaintiffs seek a common recovery (in the form of damages or restitution) for amounts

 2 paid in the form of Community Fees and Personal Service Rate Fees, in addition to

 3 the recovery of statutory damages.

 4

 5          B.    Amounts Paid to Brookdale
 6          46.   As noted, damages can be reasonably calculated on class-wide basis
 7 using a commonly applied methodology and reliable data. The type and amount of

 8 fees billed by Brookdale and paid by or for each resident class member can be

 9 determined from Defendants’ records. I understand that

10

11                                                                       .70 The following
12 describes the specific amounts billed by Brookdale.

13

14                1.      Community Fees
15          47.   The community fee is a
16                                               .71 I understand that the
17

18                        .72 Mr. Bowman testified that
19

20                  .73
21          48.   It is my understanding that the
22                                                                                             ’
23

24

25   70
      Deposition of Theresa Ward, 119:11-119:24.
     71
26    Deposition of Theresa Ward, 88:05-88:16
   72
      Deposition of Kevin Bowman, 65:08-65:15. See, e.g., Resident Agreement for
27 Stacia Stiner (BKD0934640-934668), Exhibit A.
   73
28    Deposition of Kevin Bowman, 65:24-66:06.
                                               -17-
                                                                  Case No. 4:17-cv-03962-HSG (LB)
          DECLARATION OF PATRICK KENNEDY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
     Case 4:17-cv-03962-HSG Document 278-8 Filed 08/18/21 Page 19 of 38


 1             .74 According to Brookdale’s responses to interrogatories, the total amount of
 2 community fees billed to residents at the communities at issue from January 1, 2015

 3 through December 31, 2020, is approximately $37.4 million.75

 4

 5                  2.     Basic Service Rate Fees
 6            49.
 7

 8

 9                                                                   .76 For example, when
10 Ms. Stiner entered the Brookdale San Ramon facility, she was charged a monthly

11 basic service rate of $            per month.77
12

13                                                     .78
14            50.   It is my understanding that the
15                                                                                             .79
16 According to Brookdale’s responses to interrogatories, the total amount of basic

17 service rate fees billed to residents at the communities at issue from January 1, 2015

18 through December 31, 2020, is approximately $1.7 billion.80

19

20
     74
          See, e.g., Account History Report (Deposition Exhibit 109), Deposition of Anna
21 Reddy, 236:18-236:21 and Deposition of Theresa Ward, 119:11-119:24.
     75
22      Defendants’ Supplemental Responses to Plaintiff Helen Carlson’s Interrogatories,
     No. 5.
23   76
        Resident Agreement for Stacia Stiner (BKD0934640-934668), page 1-2.
     77
24      Resident Agreement for Stacia Stiner (BKD0934640-934668), Exhibit A.
     78
        See, e.g., Resident Agreement for Stacia Stiner (BKD0934640-934668), page 7
25   and Account Statement for Lawrence Quinlan (Deposition Exhibit 18).
     79
26      See, e.g., Account History Report (Deposition Exhibit 109), Deposition of Anna
     Reddy, 236:18-236:21 and Deposition of Theresa Ward, 119:11-119:24.
27   80
        Defendants’ Supplemental Responses to Plaintiff Helen Carlson’s Interrogatories,
28   No. 7.
                                                -18-
                                                                   Case No. 4:17-cv-03962-HSG (LB)
            DECLARATION OF PATRICK KENNEDY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
     Case 4:17-cv-03962-HSG Document 278-8 Filed 08/18/21 Page 20 of 38


 1                3.    Personal Service Rate Fees
 2          51.   In addition to basic service fees, residents may be charged an additional
 3 monthly fee for personal care services (Personal Service Rate Fees). As described

 4 above,

 5

 6                                                      .81
 7

 8                                        .82 For example, when Ms. Stiner entered the
 9 Brookdale San Ramon facility, she was charged a monthly personal service rate of

10 $         per month.83 Similar to basic service rate fees, I understand personal service
11 rate fees are billed monthly and payable by the first calendar day of each month.

12          52.   It is my understanding that the
13                                                                                           .84
14 According to Brookdale’s responses to interrogatories, the total amount of personal

15 service rate fees billed to residents at the communities at issue from January 1, 2015

16 through December 31, 2020, is approximately $369.4 million.85

17

18                4.    Select and Therapeutic Services
19          53.
20

21

22

23
     81
24      Deposition of Anna Reddy, 219:07-219:17.
     82
        Deposition of Anna Reddy, 229:10-229:21.
25   83
        Resident Agreement for Stacia Stiner (BKD0934640-934668), Exhibit A.
     84
26      See, e.g., Account History Report (Deposition Exhibit 109), Deposition of Anna
     Reddy, 236:18-236:21 and Deposition of Theresa Ward, 119:11-119:24.
27   85
        Defendants’ Supplemental Responses to Plaintiff Helen Carlson’s Interrogatories,
28   No. 9.
                                              -19-
                                                                 Case No. 4:17-cv-03962-HSG (LB)
          DECLARATION OF PATRICK KENNEDY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
     Case 4:17-cv-03962-HSG Document 278-8 Filed 08/18/21 Page 21 of 38


 1                             .86
 2

 3

 4                                         .88
 5

 6                5.    Total Amount Paid to Brookdale by or on behalf of the
 7                Plaintiffs
 8          54.   The amounts billed by Brookdale to residents for each category of fee is
 9 ascertainable from Defendants’ records as described above. It is my understanding

10 that Brookdale does not record the amounts collected from or on behalf of residents

11 by individual categories of fees. However, using Brookdale’s documents, I can

12 reliably estimate the total paid related to each category of amounts billed, including

13 community fees, personal service rate fees, etc. For example, if I receive detailed

14 data reflecting the total billed to a resident and the total amount collected from or on

15 behalf of that resident over the same period, I will be able to calculate the collection

16 ratio (total collected divided by total billed) for each resident and apply this ratio to

17 the specific categories of amounts billed. This provides a reliable estimate of the

18 amounts paid to Brookdale for the relevant categories of fees on a class-wide basis.

19 This analysis can be performed by individual resident, by class, or by facility.

20 Additionally, this analysis can be performed for any relevant time period.

21          55.   As of the date of this report, I am informed that Brookdale has not
22 provided complete accounting records, including but not limited to profit and loss

23 statements by facility and detailed records of amounts billed and amounts paid by or

24 on behalf of each resident for all potential class members during the relevant class

25
     86
26    Resident Agreement for Stacia Stiner (BKD0934640-934668), page 2.
     87
      Resident Agreement for Stacia Stiner (BKD0934640-934668), Exhibit A.
27 88 See, e.g., Resident Agreement for Stacia Stiner (BKD0934640-934668), page 7

28 and Account History Report (Deposition Exhibit 109).
                                                 -20-
                                                                 Case No. 4:17-cv-03962-HSG (LB)
          DECLARATION OF PATRICK KENNEDY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
     Case 4:17-cv-03962-HSG Document 278-8 Filed 08/18/21 Page 22 of 38


 1 period.       I understand these are records that are maintained electronically in the
 2 ordinary course of business. If I am provided this information, I will be able to

 3 quantify the amounts paid for specific facilities and residents, and for the relevant

 4 categories of fees, from the beginning of the class period through the date of trial.

 5

 6          C.      Potential Offset for Value Received
 7          56.     As noted above, it is my understanding that under applicable law, the
 8 appropriate measure for calculating damages or restitution under Plaintiffs’ claims is

 9 the excess of what Plaintiffs paid to the Defendants over the value, if any, of what

10 the Plaintiffs received. The focus is on the difference between what was paid and

11 what a reasonable consumer would have paid at the time of the transaction without

12 the allegedly misrepresented or omitted information.89

13

14                  1.    Shortfall in Required Hours versus Available Hours
15          57.     I understand that Plaintiffs retained staffing experts to provide expert
16 opinions       with respect to the extent to which Brookdale staffing was
17 sufficient/insufficient to provide Brookdale residents with the level of care identified

18 in their personal service assessments. I understand that this analysis has been

19 conducted on Brookdale’s assessment, payroll and other documentation obtained on

20 a sample basis for six facilities using two generally accepted methodologies: 1.

21 Simple Math Analysis and 2. Discrete Event Simulation (DES) Testing and Failure

22 Analysis.

23
     89
24     See for example, Pulaski & Middleman, LLC v. Google, Inc., 802 F.3d 979, 988
     (9th Cir. 2015) and Nguyen v. Nissan North America, Inc., 932 F.3d 811, 820 (9th
25   Cir. 2019). I do not provide any legal opinions in this declaration. However, as a
26   damages expert, I rely upon relevant case law to guide my damages methodology.
     Based on information provided by counsel, I understand that the aforementioned
27   case law provides guidance regarding the calculation of restitution damages in the
28   Ninth Circuit.
                                               -21-
                                                                  Case No. 4:17-cv-03962-HSG (LB)
          DECLARATION OF PATRICK KENNEDY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
     Case 4:17-cv-03962-HSG Document 278-8 Filed 08/18/21 Page 23 of 38


 1          58.   I understand that the care requirements set forth in the residents’
 2 personal service assessments can be translated into a number of hours required to

 3 provide all required line-item services to residents in each facility (“required

 4 hours”).90 For example, hours required to provide the services that were promised

 5 and paid for by Plaintiffs can be calculated by multiplying the number of residents

 6 who require each line-item service times the daily frequency that each line-item

 7 service is to be performed in each facility times the task times (minutes required) for

 8 each line-item service.91 I understand this calculation of required hours based on task

 9 times is similar to the staffing approach being used by Brookdale’s labor benchmark

10 tool based on Brookdale “norms”.

11          59.   The level of required hours is then compared to the number of available
12 hours provided by Brookdale’s caregivers at each facility during the same time period

13 (“available hours”) to determine if there is a shortfall in hours available to perform

14 the care services that were promised and paid for by Plaintiffs.            I understand
15 Brookdale’s available staffing hours by job title can be determined from staffing

16 records provided by Defendants for Brookdale’s Assisted Living (AL) or Memory

17 Care (MC) unit within each facility.92

18          60.   According to Dr. Christina Flores, based on the simple math analysis
19 performed for the days where the data was complete or substantially complete, she

20 found that each of the six facilities were chronically understaffed, placing residents

21 at a substantial and ongoing risk for not receiving required and promised care.93 In

22
     90
        I understand required hours includes the time to perform each task (simple math
23
     methodology), or may also include travel time, non-service tasks (e.g., staff
24   meetings) and other variables that could impact staffing (DES methodology).
     91
        Declaration of Christina Flores, Ph.D. in support of Plaintiffs’ Motion for Class
25
     Certification, paragraph 35.
     92
26      Declaration of Christina Flores, Ph.D. in support of Plaintiffs’ Motion for Class
     Certification, paragraph 54.
27   93
        Declaration of Christina Flores, Ph.D. in support of Plaintiffs’ Motion for Class
28
                                              -22-
                                                                Case No. 4:17-cv-03962-HSG (LB)
          DECLARATION OF PATRICK KENNEDY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
     Case 4:17-cv-03962-HSG Document 278-8 Filed 08/18/21 Page 24 of 38


 1 addition, I understand that these findings based on the simple math approach are

 2 extremely conservative because it does not account for other time-consuming

 3 activities such as staff travel time, administrative tasks and pendant response time,

 4 which would decrease caregivers’ available time and increase Dr. Flores’ shortfall

 5 conclusions.94        I understand Dale Schroyer performed DES testing and failure
 6 analysis to account for other time-consuming activities for the six sample Brookdale

 7 facilities and found the number of hours required to perform the daily line-item

 8 services at each facility exceeded the number of staffing hours available on a daily

 9 basis, resulting in an average daily staffing shortfall of 41.5% per facility.95

10            61.   These shortfall calculations can be used to provide an estimate of the
11 potential offset for value received, as further described below. I understand that this

12 methodology could be extended to a longer period of time for each of the identified

13 facilities, if additional data is produced. In addition, I understand this methodology

14 can be applied by day, by facility and by type of care service provided. Therefore,

15 this methodology provides the ability to calculate class wide damages at whatever

16 level of detail is required.

17

18                  2.     Community Fees
19            62.   As noted above, I understand that Brookdale associates the community
20 fee with the identification of resident care needs. According to its website, Brookdale

21 fees include “a one-time fee that covers admission and apartment preparation.”96

22 Brookdale’s residency agreements states, “

23

24 Certification, paragraph 59.
     94
          Declaration of Christina Flores, Ph.D. in support of Plaintiffs’ Motion for Class
25 Certification, paragraph 67.
     95
26    Declaration of Dale Schroyer in support of Plaintiffs’ Motion for Class
   Certification, paragraph 77.
27 96 https://www.brookdale.com/en/our-services/assisted-living/assisted-living-

28 costs.html
                                                -23-
                                                                   Case No. 4:17-cv-03962-HSG (LB)
            DECLARATION OF PATRICK KENNEDY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
     Case 4:17-cv-03962-HSG Document 278-8 Filed 08/18/21 Page 25 of 38


 1

 2

 3                                                 .”97 The residency agreement does not
 4 associate the Community Fee with the cost of any other services. I understand that

 5 Plaintiffs seek restitution related to the payment of these fees.

 6           63.    Based on the documents and information produced to date, I have not
 7 identified any direct benefit to individual residents associated with the Community

 8 Fee. For example, as noted above, the

 9                                                                                      .98 Mr.
10 Bowman testified

11                                                                             .99 In addition,
12 Ms. Ward

13                            .100 Based on the information available to me at this time, it
14 does not appear that Community Fees are directly related to any particular benefit

15 provided to the class members.

16           64.
17

18                             . Therefore,
19                                            . The assessment would have economic value
20 for the resident if it was determined to be a necessary cost incurred in order to identify

21 and provide adequate care for the resident and the assessment was used for this

22 purpose.        However, Plaintiffs allege that the results of the assessment are not
23

24
     97
          See, e.g., Template Brookdale Residency Agreements (Declaration of Kevin
25 Bowman in Support of Motion to Deny Class Certification, Exhibits B-E).
     98
26    Deposition of Kevin Bowman, 65:08-65:15. See, e.g. Resident Agreement for
   Stacia Stiner (BKD0934640-934668), Exhibit A.
27 99 Deposition of Kevin Bowman, 65:24-66:06.
   100
28     Deposition of Teresa Ward, 182:01-182:04.
                                               -24-
                                                                  Case No. 4:17-cv-03962-HSG (LB)
           DECLARATION OF PATRICK KENNEDY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
     Case 4:17-cv-03962-HSG Document 278-8 Filed 08/18/21 Page 26 of 38


 1 adequately used to determine facility staffing. If Plaintiffs prove these allegations,

 2 the trier of fact could conclude that a reasonable consumer would not pay $500 for

 3 an assessment. Also, the $500 charge would not have any transferrable value for a

 4 resident leaving Brookdale’s facility.

 5        65.    If no offset is applied, the total amount of Community Fees paid by class
 6 members would constitute the full recovery amount regarding Community Fees.

 7 Alternatively, the trier of fact may determine that a portion of the Community Fee

 8 conferred value to the resident. For example, if the trier of fact determines that

 9 residents received value from the pre-admission assessment (

10       ), then this amount can be easily quantified ($500 times the number of class
11 members that paid a Community Fee) and applied as a potential offset.

12

13               3.     Personal Service Rate Fees on Days with a Shortfall
14        66.    The daily staffing shortfall calculations described above can be used to
15 identify the days in which a particular facility had a staffing shortfall. Those days can

16 then be matched up with Brookdale’s accounting records to identify the amount that

17 Plaintiffs paid to Brookdale in Personal Service Rate Fees for each day where a

18 staffing shortfall was present. If the trier of fact determines that Plaintiffs should

19 receive full recovery for those days where the facility had a staffing shortfall, then

20 class wide damages would equal the sum the amounts paid to Brookdale for Personal

21 Service Rate Fees on those days with a shortfall.

22        67.    If the trier of fact determines that Plaintiffs’ recovery should be reduced
23 to reflect an offset for the amount that residents would have paid if they had

24 knowledge of Brookdale’s allegedly defective care services staffing, then the staffing

25 shortfall percentages calculated by Plaintiffs’ staffing experts can be used to estimate

26 an offset to the full recovery described above. The value bargained for would reflect

27 100 percent of the amount paid for care services. The staffing shortfall percentages

28
                                              -25-
                                                                 Case No. 4:17-cv-03962-HSG (LB)
        DECLARATION OF PATRICK KENNEDY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
     Case 4:17-cv-03962-HSG Document 278-8 Filed 08/18/21 Page 27 of 38


 1 can then be used to estimate the amount that residents would have paid if they had

 2 information regarding the extent of the shortfall. For example, if Brookdale provided

 3 only 80 percent of required staffing, then this amount can be used as a conservative

 4 measure of the amount that a reasonable consumer would have paid for partial care

 5 services at the outset. The resulting delta of 20 percent in this example reflects the

 6 staffing shortfall percentage. That delta directly measures the difference between

 7 what was promised, 100 percent staffing, and what would have been paid for by

 8 consumers with knowledge that Brookdale would provide only 80 percent of required

 9 staffing. Multiplying the amount paid by residents for Personal Service Rate Fees

10 times the associated care services staffing shortfall percentage provides a measure of

11 restitution which includes an offset based the amount that a reasonable consumer

12 would have paid if they had knowledge of the shortfall before entering the Brookdale

13 facility.

14        68.    Applying a percentage reduction to restitution based on the measured
15 staffing shortfall for care services is consistent with my understanding of the pricing

16 model Brookdale uses to set the Personal Service Rate. As noted above, I understand

17 that prices charged by Brookdale for care services increase when the level of personal

18 care increases. This indicates Brookdale associates the price charged to residents for

19 care services to Brookdale’s cost for those services. The amount that Plaintiffs pay

20 in Personal Service Rate Fees can therefore be considered variable with respect to the

21 underlying amount of time required to provide the care services. For example, if a

22 consumer thought they were paying for 10 hours of care service and only received 8

23 hours of care service, a reasonable consumer may decide that it would only pay for

24 the 8 hours actually received. Applying a pro-rata reduction to the Personal Service

25 Rate Fees actually paid based on the staffing shortfall would approximate the value

26 of the care hours actually received.

27

28
                                             -26-
                                                               Case No. 4:17-cv-03962-HSG (LB)
        DECLARATION OF PATRICK KENNEDY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
     Case 4:17-cv-03962-HSG Document 278-8 Filed 08/18/21 Page 28 of 38


 1         69.   I refer to use of the staffing shortfall percentage to determine this offset
 2 as a “conservative” measure because it likely overstates the amount that a reasonable

 3 consumer would pay for a less than adequately staffed facility. As noted above,

 4 providing adequate care tailored to each resident’s assessed care needs is an important

 5 element of Brookdale’s consumer-facing statements regarding consumer’s “peace of

 6 mind” and ability to “age in place”. If potential residents were made aware of a

 7 staffing model that was, to an extent, disconnected from resident needs and which

 8 had the risk of material shortfalls in staffing for care services, it is probable that they

 9 would not have been willing to pay any amount for those care services. A pro-rata

10 reduction in recovery for the partial care provided by Brookdale gives credit to

11 Brookdale for every hour of care service that they provided, which may significantly

12 overstate the value of less than full care services staffing.

13         70.   The above-described calculations can also be performed on a class
14 member-by-class member basis in order to accurately determine overall class wide

15 damages and the allocation to each class member. Such calculations would identify

16 the days in which a resident was in a particular facility, whether staffing was adequate

17 on a particular day, and the amount that the resident paid for Care Services on those

18 days where a shortfall existed. Summing up the amounts paid on days with a shortfall

19 identifies full recovery. Multiplying the full recovery amount by the percentage

20 shortfall for each day times the amount paid for care services on those days with

21 shortfalls identifies the amount of restitution net of the above-described offset.

22

23         D.    Conclusion
24         71.   It is my opinion that class wide damages can be reliably quantified using
25 a commonly applied methodology and reliable data. Using information maintained

26 by Defendants in the regular course of business, I am able to separately identify and

27 quantify total amounts paid by potential class members for Community Fees and

28
                                               -27-
                                                                   Case No. 4:17-cv-03962-HSG (LB)
        DECLARATION OF PATRICK KENNEDY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
     Case 4:17-cv-03962-HSG Document 278-8 Filed 08/18/21 Page 29 of 38


 1 Personal Service Rate Fees. These amounts can be offset for the potential value

 2 received (if any), as described above. This Declaration describes the methodology

 3 used to measure the potential offset and can be applied consistently on a class-wide

 4 basis.

 5          72.   The calculation of amounts paid and amounts received can be adjusted
 6 for the inclusion or exclusion of class members. Class members can be verified at a

 7 later point in the claims administration process and damages can be adjusted

 8 accordingly. The inclusion or exclusion of certain class members will change the total

 9 amount but will not change the overall methodology applied to calculate damages.

10

11          E.    Statutory Damages
12                1.     CLRA
13          73.   In addition to the damages described above, I understand that certain
14 class members may be awarded up to $5,000 in statutory damages under the CLRA

15 given the trier of fact finds the following:

16
                       1. Individual is a consumer
17
                       2. Individual is a senior citizen or disabled person
18
                       3. Consumer suffered substantial physical, emotional,
19
                          or economic damage resulting from the defendant's
20                        conduct
21                     4. Trier of fact finds one or more of the following
22
                                 Defendant knew or should have known
23                                conduct was directed to one or more
                                  senior citizens;
24

25                               Defendants' conduct caused senior
                                  citizen(s) to suffer: (i) substantial loss of
26                                property set aside for retirement, or for
27                                personal or family care and maintenance;
                                  (ii) substantial loss of payments received
28
                                               -28-
                                                                  Case No. 4:17-cv-03962-HSG (LB)
        DECLARATION OF PATRICK KENNEDY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
     Case 4:17-cv-03962-HSG Document 278-8 Filed 08/18/21 Page 30 of 38


 1                                under pension, retirement plan or
 2
                                  government benefits program; or
                                  (iii)assets essential to the health or
 3                                welfare of the senior citizen or disabled
 4                                person; OR

 5                              Senior citizens substantially more
                                 vulnerable than other members of public
 6
                                 to defendants' conduct AND actually
 7                               suffered substantial physical, emotional or
                                 economic damage resulting from
 8
                                 defendants' conduct
 9

10                    5. Trier of fact finds that an award of up to $5,000 is
11                       appropriate.

12

13
           74.    I understand the factors set forth above are ultimately to be determined

14
     by the trier of fact. Although the term “substantial” is not a defined economic term,

15
     I provide the following observations to assist the trier of fact in determining if the

16
     economic harm caused by Defendants is substantial in this matter.

17
           75.    The methodology described above provides a measure of economic

18
     damage to potential class members. To assess whether or not the amount of economic

19
     damage is substantial, one can compare the alleged economic damage to average

20
     income and expenditures of individuals over age 65 based on data compiled by the

21
     U.S. Census Bureau in the Consumer Expenditure Survey (“CES”). The CES is a

22
     statistically representative sample of income and consumption by various cohorts. I

23
     reference statistics for household units with the reference person age 65 and over in

24
     the West region, the data that most closely compares to the class members in this

25
     matter.

26
           76.    The following statistics for annual average income and expenditure per

27
     household member (2016-2017) can be used to assess whether or not the economic

28
     damage in this matter is substantial:
                                              -29-
                                                                 Case No. 4:17-cv-03962-HSG (LB)
         DECLARATION OF PATRICK KENNEDY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
     Case 4:17-cv-03962-HSG Document 278-8 Filed 08/18/21 Page 31 of 38


 1                  Income:
 2                        i. Social Security, private and government retirement: $13,552
 3                       ii. Interest, dividends, rental income and other property income:
 4                           $3,569
 5                  Expenditure:
 6                        i. Food: $3,576
 7                       ii. Housing: $4,905
 8                      iii. Health Care: $3,550
 9

10           77.   For illustration, I provide a preliminary quantification of economic
11 damage based on the Personal Service Rate Fees charged for Ms. Stiner, and the

12 potential offset described above.        According to the Residency Agreement dated
13 February 2016, Ms. Stiner was initially charged $              per month for personal
14 services in connection with her residency at Brookdale San Ramon.101 Based on this

15 information, the total annual amount charged to Ms. Stiner was approximately

16 $                                                                          ).102 As noted
17 above, this amount represents full recovery before any potential offsets. Applying

18 the average staffing shortfall to be determined for this facility to the Personal Service

19 Rate Fees will provide the economic loss associated with the shortfall after potential

20 offsets.

21           78.   The above-described annual economic damage provides a range of
22 economic loss for Ms. Stiner based on full recovery or with potential offsets. These

23 amounts can be compared to the average annual income and expenditures described

24 above to assess whether or not the damages are substantial.

25
     101
26    Resident Agreement for Stacia Stiner (BKD0934640-934668), Exhibit A.
     102
      I understand that, as of the date of this report, Brookdale has not produced a
27 detail of amounts billed or collected by individual resident, although I understand

28 this information is available by resident.
                                               -30-
                                                                 Case No. 4:17-cv-03962-HSG (LB)
           DECLARATION OF PATRICK KENNEDY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
     Case 4:17-cv-03962-HSG Document 278-8 Filed 08/18/21 Page 32 of 38


 1                 2.    Unruh Act
 2        79.      In addition to the damages described above, I understand that class
 3 members with disabilities may be awarded statutory minimum damages of $4,000 for

 4 “each and every offense” where the class member was denied full and equal access

 5 or their rights were violated under the ADA pursuant to California Civil Code §§

 6 51(f); 52(a).

 7        80.      I understand the trier of fact will determine if an access barrier existed
 8 which violated class members’ rights under the ADA and Unruh Act. Statutory

 9 damages can then be calculated for each class member based on the number of events

10 as follows: the number of access barriers determined by the court times the number

11 of occasions a class member encountered a barrier during the class period that caused

12 him or her difficulty, discomfort or embarrassment times the violation amount stated

13 in California Civil Code § 52(a) and 55.56(e) of $4,000 per occasion. For example,

14 if a potential class member encountered three access barriers at a Brookdale facility,

15 his or her potential damages would be $12,000 (3 x $4,000 = $12,000) times the

16 number of occasions he or she encountered the barriers during the class period.

17        81.      The calculation of statutory damages can be determined for each class
18 member based on the number of barriers encountered and the number of instances a

19 barrier was encountered that caused the class member difficulty, discomfort or

20 embarrassment. For other violations of the class members’ rights under the ADA

21 (non-access related), each class member’s statutory minimum damages under the

22 Unruh Act can be determined by multiplying the number of different violations of

23 the class members’ rights under the ADA (as determined by the Court) times the

24 $4,000 statutory minimum. The number of such occurrences can be verified through

25 the claims administration process and damages can be calculated accordingly. The

26 inclusion or exclusion of certain class members, the number of access barriers and

27 the number of instances a barrier was encountered will change the total amount of

28
                                               -31-
                                                                  Case No. 4:17-cv-03962-HSG (LB)
        DECLARATION OF PATRICK KENNEDY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
     Case 4:17-cv-03962-HSG Document 278-8 Filed 08/18/21 Page 33 of 38


 1 damages but will not change the overall methodology applied to calculate damages.

 2 In addition, interest can be calculated for each class member at the statutory rate from

 3 the date each incident occurred through the date of trial.

 4

 5        I declare under penalty of perjury under the laws of California and the United
 6 States of America that foregoing is true and correct.

 7

 8        Executed on August 17, 2021 in San Diego, California.
 9

10

11                                         __________________________________
12                                         Patrick F. Kennedy, Ph.D.
13                                         Managing Director
14                                         Torrey Partners LLC
15

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                                             -32-
                                                                Case No. 4:17-cv-03962-HSG (LB)
        DECLARATION OF PATRICK KENNEDY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
Case 4:17-cv-03962-HSG Document 278-8 Filed 08/18/21 Page 34 of 38




                         Exhibit A
      Case 4:17-cv-03962-HSG Document 278-8 Filed 08/18/21 Page 35 of 38




Patrick F. Kennedy, PhD
Managing Director

Patrick F. Kennedy is a Managing Director at Torrey Partners based in San Diego, CA. Dr. Kennedy provides
analysis, consultation, and expert opinions in business and dispute contexts. In his more than 20 years of
experience, Dr. Kennedy has testified as an expert in Federal Court, the U.S. Court of Claims, Bankruptcy
Court, State Court, and in private arbitrations throughout the country.
Dr. Kennedy has analyzed economic loss and damages in matters with causes of action including, but not
limited to, patent, copyright, trademark and trade secret misappropriation, false advertising, breach of
contract, product liability, fraud, professional malpractice, negligence, trespass, construction defect,
antitrust and unfair competition, insurance bad faith, employment disputes and loss of earnings.
Dr. Kennedy has experience in a wide range of industries involving diverse technology.
PROFESSIONAL EXPERIENCE

        2011 to present         Torrey Partners                           Managing Director
        2006 to 2011            LECG                                      Managing Director (2008)
        1996 to 2006            Mack|Barclay, Inc.                        Shareholder (1998)
        1995 to 1996            International Securities Group, Inc.      Director of Economic Research
        1992 to 1995            Board of Governors of the Federal         Economist
                                Reserve System, Washington, D.C.
EDUCATION
        Doctorate in Economics, Stanford University, 1992
               Awarded Stanford University Fellowship, Bradley Foundation Dissertation Fellowship, and
               Outstanding Teaching Award
        Bachelor of Arts in Economics, University of California, San Diego, 1986
               Muir College Valedictorian, Summa Cum Laude and Phi Beta Kappa. Awarded UC Regents
               Scholarship and the Seymour E. Harris Economics Award

LICENSES AND PROFESSIONAL MEMBERSHIPS
        Registered Securities Representative and Registered Principal
                (NASD Series 7, 24 and 63 – inactive)
        American Economic Association
        National Association for Business Economics
        National Association for Forensic Economics
        Licensing Executive Society

BOARD MEMBERSHIPS
        Torrey Pines Bank, Board of Directors
        University of California San Diego, Economic Leadership Board Member



                                                              3390 Carmel Mountain Road, Suite 150 · San Diego, CA · 92121
                                                                               phone · 858.847.0001 fax · 858.847.0005
                                                                                                www.torreypartners.com
Case 4:17-cv-03962-HSG Document 278-8 Filed 08/18/21 Page 36 of 38




SELECTED CASE AND INDUSTRY EXPERIENCE

INTELLECTUAL PROPERTY
•       Patent infringement claims including cellular handset technologies, various integrated
        circuits, medical devices, action cameras, digital image sensors and processing, network and
        device security, software, social media, unmanned aerial vehicles, advertising, LED
        backlighting, vehicle equipment and testing, electronic lottery systems, antibacterial
        products, DNA-based diagnostic testing, radio frequency identification systems, apparel and
        other products
•       Trade secret misappropriation claims including medical devices, responsive website design,
        drug development, network security, systems integration, merchant services, financial
        services, fiber-reinforced polymer systems, manufacturing, cellular handsets, Bluetooth
        devices and other products
•       Trademark and copyright infringement claims including cloud storage, luxury watches,
        musical composition, a nationally branded convention, wireless headsets, food products,
        fashion accessories, field marketing organizations, ceiling fans, jewelry, toys, apparel, retail
        and other products

OTHER MATTERS
    •    Breach of contract, intentional interference with prospective economic advantage,
         professional malpractice, insurance bad faith and other claims in industries including, but
         not limited to, oil wells and extraction, pharmaceutical clinical trials, reference
         microorganisms and cell lines, aircraft rescue and firefighting vehicles, wineries, gaming
         and casinos, satellite television, water purification filters, defense contracting, aerospace,
         aircraft charter, medical services, government contracts, veterans counseling services,
         advertising, national franchises, printing, paper and plastics, multilevel marketing,
         agriculture, footwear, financial services, insurance brokerage and real estate development
    •    Qui Tam cases involving overbilling by major systems integrators, faulty illuminating flares
         used in military aviation, improper testing of semiconductors used in military applications,
         and faulty design of a spacecraft intended to return solar wind samples to earth
    •    Foodborne illness and product recall
    •    Natural disaster business losses, including the Northern and Southern California wildfires
    •    Eminent domain matters involving real estate development and construction aggregates
    •    Valuing liabilities associated with future product liability claims for an automobile
         manufacturer in bankruptcy court
    •    Valuing technology related to motor vehicle engine diagnostics, drone anti-collision sensor
         technology and other products and services
    •    Multidistrict product liability litigation including pharmaceutical products and asbestos
    •    Consumer and business class actions related to solar panels, a natural gas facility blowout,
         automotive products, assisted living facilities, mobile home park relocation and cellular
         services
    •    Antitrust damages in convention services, telecommunications, and aircraft
    •    Personal loss including aviation, maritime and under the Vaccine Injury Compensation
         Program


                                                                                           Page 2 of 2
Case 4:17-cv-03962-HSG Document 278-8 Filed 08/18/21 Page 37 of 38




                         Exhibit B
           Case 4:17-cv-03962-HSG Document 278-8 Filed 08/18/21 Page 38 of 38


Stiner, et al. v. Brookdale Senior Living, Inc., et al.                                                       Exhibit B
Document Inventory


          Date                                                 Description

  Legal
      01/25/19   Order Denying Def. Motion to Compel Arbitration, Granting in Part and Denying in Part Def. Motion to
                 Dismiss, and Denying Def. Motion to Strike [Doc 85]
      02/15/19   Third Amended Complaint [Doc 90]
      03/08/19   Defendant's Answer to Third Amended Complaint [Doc 110]
      04/27/21   Defendant's Supplemental Responses to Ptf. Helen Carlson's ROG's, Set One
      04/30/21   Notice of Motion and Motion to Deny Class Certification [Doc 238] and Appendix of Exhibits [Doc 238-1]
      04/30/21   Declaration of Kevin Bowman ISO Motion to Deny Class Certification [Doc 238-2] and related exhibits
                 [Doc 238-3 and Doc 238-4]
      06/02/21   Order Granting Moton for Substitution of Deceased Plaintiffs and Administrative Motion to File
                 Underseal [Doc 260]
      08/14/21   Declaration of Dale Schroyer ISO Plaintiffs' Motion for Class Certification
      08/15/21   Declaration of Christina Flores, Ph.D. ISO Plaintiffs' Motion for Class Certification
      08/16/21   Declaration of David Marks ISO Plaintiffs' Motion for Class Certification


  Depositions
      03/17/21   Deposition of Theresa Ward and related exhibits
      03/18/21   Deposition of Kimia Ataeian and related exhibits
      03/24/21   Deposition of Marie Harris and related exhibits
      03/25/21   Deposition of Anna Reddy and related exhibits
      04/16/21   Deposition of Ferdinand Augustus Buot, Jr. Vol I and related exhibits
      04/21/21   Deposition of Rhonda Dolcater Vol I and related exhibits
      04/28/21   Deposition of Jeffrey J. Toomer Vol I and related exhibits
      06/03/21   Deposition of Kevin Bowman and related exhibits
      06/09/21   Deposition of Kevin Wayne Bowman and related exhibits
      06/17/21   Deposition of Kevin Bowman 30(b)(6) Topic 10 and related exhibits
      06/17/21   Deposition of Kevin Bowman 30(b)(6) Topic 16 and related exhibits
      06/23/21   Deposition of Kevin Bowman 30(b)(6) Topic 2 and related exhibits
      06/30/21   Deposition of Sheila Garner and related exhibits


  Other
                 Structured Labor Details Reports (BKD2874675-760)
                 Job Descriptions (various bates)
                 Consumer Expenditure Survey, U.S. Bureau of Labor Statistics
                 Pulaski & Middleman, LLC v. Google, Inc., 802 F.3d 979, 988 (9th Cir. 2015)
                 Nguyen v. Nissan North America, Inc., 932 F.3d 811, 820 (9th Cir. 2019)
                 www.brookdale.com
